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     9
                              UNITED STATES DISTRICT COURT
    10
              CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
    11
    12   IN RE: TOLL ROADS LITIGATION                    Case No: 8:16-cv-00262 AG (JCGx)
    13   ___________________________________
         PENNY DAVIDI BORSUK; DAVID
    14   COULTER; EBRAHIM E. MAHDA;                      JOINT STATEMENT
         TODD QUARLES; TODD CARPENTER;                   INFORMING THE COURT
    15   LORI MYERS; DAN GOLKA; and                      OF 3M SETTLEMENT
         JAMES WATKINS on Behalf of
    16   Themselves and All Others Similarly             Date:      July 29, 2019
    17   Situated,                                       Time:      10:00 a.m.
                    Plaintiffs,                          Judge:      Hon. Andrew J. Guilford
    18                                                   Courtroom: 10D
                vs.
    19   FOOTHILL/EASTERN                                Complaint Filed: October 2, 2015
         TRANSPORTATION CORRIDOR
    20   AGENCY; SAN JOAQUIN HILLS
    21   TRANSPORTATION CORRIDOR
         AGENCY; ORANGE COUNTY
    22   TRANSPORTATION AUTHORITY;
         3M COMPANY; BRiC-TPS LLC;
    23   RHONDA REARDON; MICHAEL
         KRAMAN; CRAIG YOUNG; SCOTT
    24   SCHOEFFEL; ROSS CHUN; DARRELL
         JOHNSON; LORI DONCHAK;
    25   COFIROUTE USA, LLC; and DOES 3-10,
         inclusive,
    26
                    Defendants.
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                        JOINT STATEMENT REGARDING 3M SETTLEMENT
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     1         Plaintiffs and 3M hereby notify the Court that they have reached an
     2   agreement to settle all claims against 3M on a classwide basis. The settlement
     3   resolves only the claims against 3M; it does not resolve any claims against other
     4   Defendants.
     5         Plaintiffs and 3M have signed a written term sheet and are working to draft
     6   and execute a complete agreement and supporting documents, including settlement
     7   class notice. When these projects are completed, Plaintiffs will file a motion with
     8   the Court seeking preliminary approval of the settlement and an order directing
     9   notice to be sent to the settlement class under Fed. R. Civ. P. 23(e)(1).
    10         Because of the settlement, Plaintiffs and 3M respectfully request that the
    11   Court exclude 3M from any ruling on the pending Joint Defense Motion to Decide
    12   Key Questions (Dkt. 527) and make it clear in any tentative and final opinion
    13   addressing the motion that the ruling does not apply to 3M.
    14         Counsel for 3M and Plaintiffs will appear at the July 29, 2019 hearing and
    15   be prepared to address the Court’s questions about the settlement approval process,
    16   although we respectfully request leave to keep the settlement terms confidential
    17   until they are presented to the Court in a preliminary-approval motion.
    18                                                  Respectfully submitted,
    19   Date: July 19, 2019                           COAST LAW GROUP LLP
    20                                                 HELEN I. ZELDES (220051)
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                         JOINT STATEMENT REGARDING 3M SETTLEMENT
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    18    Date:   July 19, 2019                  FAEGRE BAKER DANIELS LLP
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    21                                           By: /s/ Aaron D. Van Oort
                                                 Aaron D. Van Oort
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    23                                           Attorneys for Defendant,
                                                 3M COMPANY
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                       JOINT STATEMENT REGARDING 3M SETTLEMENT
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